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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01901-CJC-JDE Date November 30, 2021
Title Jose L. Aceves et al v. Coach Royal 003 LP

 

 

 

PRESENT: HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
LACK OF PROSECUTION (REMOVAL)

This action was removed to this Court on November 18, 2021. Pursuant to Rule 81 of
the Federal Rules of Civil Procedure, a response to the Complaint is due the later of 21 days
after receiving a copy of the initial pleading, 21 days after being served with the summons, or 7
days after the notice of removal is filed. No response has been filed. Accordingly, Plaintiff is
ordered to show cause in writing on or before December 3, 2021 why this action should not be
dismissed for lack of prosecution. As an alternative to a written response by Plaintiff, the Court
will consider as an appropriate response to this OSC the filing of one of the following on or
before the above date:

1. Aresponse to the Complaint by all Defendants;

2. An application for the entry of default pursuant to Rule 55 of the Federal Rules of
Civil Procedure, as to all Defendants, or

3. A Notice of Voluntary Dismissal as to all Defendants.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a timely and appropriate response. Failure to respond to
this Order may result in dismissal.

 

Initials of Deputy Clerk = rrp

 

 

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